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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:06CR3102
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
ANDRANETTE FOSTER,                          )
                                            )
                    Defendant.              )


      On the oral motion of the defendant, and with the agreement of the government,

       IT IS ORDERED that the defendant’s sentencing is continued to Friday, November
30, 2007, at 12:30 p.m., before the undersigned United States district judge, in Courtroom
No. 1, Robert V. Denney United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      November 9, 2007.                  BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
